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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SHULRUFF DENTAL INC.,                               )
on behalf of itself and                             )
the class members defined herein,                   )
                                                    )
              Plaintiff,                            )      21-cv-00879
                                                    )
              v.                                    )      Judge Sara L. Ellis
                                                    )      Magistrate Judge Beth W. Jantz
INTEGRATED CHARTS INC., d/b/a TAB 32,               )
and JOHN DOES 1-10,                                 )
                                                    )
              Defendants.                           )


                                    NOTICE OF DISMISSAL
       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Shulruff Dental Inc. voluntarily

dismisses its claims against John Does 1-10, without prejudice and without costs.

                                     Respectfully submitted,

                                     s/ Heather Kolbus
                                     Heather Kolbus

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Cathleen M. Combs
Dulijaza (Julie) Clark
Heather Kolbus
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                                CERTIFICATE OF SERVICE

        I, Heather Kolbus, hereby certify that on June 9, 2021, I caused a true and accurate copy
of the foregoing document to be filed via the Court’s CM/ECF, which caused notification to be
sent via email to the following party:

       Robert M. Einhorn – reinhorn@zarcolaw.com
       Mary Nikezic – mnikezic@zarcolaw.com
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                                                     /s/ Heather Kolbus
                                                     Heather Kolbus

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